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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

           UNITED STATES OF AMERICA
                                                         CRIMINAL INDICTMENT
                v.
                                                         NO. 1:13-CR-191-4-JEC-ECS
           ALI ALEJANDRO GODOY-MAXIMO



                           REPORT & RECOMMENDATION ON PLEA OF GUILTY

                The   Defendant 1       by    written    consent 1     appeared      before     the

           undersigned with counsel on January 15           1   2014 1 and entered a plea of

           guilty to Counts One l Two and Three of the indictment.                  After placing

           Defendant under oath and advising and examining him as required under

           Rule 11 of the Federal Rules of Criminal Procedure 1 the undersigned

           determined that the Defendant was competent and capable of entering

           an informed plea; that he was fully advised of the charges and the

           consequences    of    the     plea;    that   the    guilty       plea   was   knowing 1

           intelligent 1   and   voluntary;        and   that    the   offense       charged   was

           supported by an independent basis in                 t establishing each of its

           essential elements.         The undersigned 1 therefore       l   RECOMMENDS that the

           plea of guilty be accepted and that the defendant be adjudged guilty

           and have sentence imposed accordingly.

                SO REPORTED and RECOMMENDED 1 this 15th day of January 1 2014.


                                             lsi E. Clayton Scofield III
                                             E. CLAYTON SCOFIELD III
                                             UNITED STATES MAGISTRATE JUDGE




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